
By order of October 27, 2017, the application for leave to appeal the September 12, 2017 judgment of the Court of Appeals was held in abeyance pending the decision in In re Hill, Minors (Docket No. 155152). On order of the Court, leave to appeal having been denied in In re Hill , Minors on April 6, 2018, 501 Mich. 1047, 909 N.W.2d 260 (2018), the application is again considered and, it appearing to this Court that the case of In re Ferranti, Minor (Docket No. 157907-8) is pending on appeal before this Court and that the decision in that case may resolve an issue raised in the present application for leave to appeal, we ORDER that the application *330be held in ABEYANCE pending the decision in that case.
